Case 2:18-cv-03893-RGK-AGR Document 73-10 Filed 04/29/19 Page 1 of 30 Page ID
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 Case2:18-cv-03893-RGK-AGR
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                             Document67-6  Filed
                                       73-10      04/08/19
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                                                  Statement of Uncontroverted Facts,
                                               Declaration of J. Trotter, Request for
                                                  Judicial Notice, and [Proposed]
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                                       73-10      04/08/19
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                                                     04/29/19    2 of34of Page
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                                                                          Exhibit H
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 Case2:18-cv-03893-RGK-AGR
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 Case2:18-cv-03893-RGK-AGR
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                                       73-10      04/08/19
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                                                                          Exhibit H
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Case 2:18-cv-03893-RGK-AGR
  Case  2:18-cv-03893-RGK-AGRDocument 67-7
                               Document     FiledFiled
                                        73-10      04/08/19  Page
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Case 2:18-cv-03893-RGK-AGR
  Case  2:18-cv-03893-RGK-AGRDocument 67-7
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                                        73-10      04/08/19  Page
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 Case2:18-cv-03893-RGK-AGR
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                             Document67-7  Filed
                                       73-10      04/08/19
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 Case2:18-cv-03893-RGK-AGR
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                                       73-10      04/08/19
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 Case2:18-cv-03893-RGK-AGR
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                             Document67-7  Filed
                                       73-10      04/08/19
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 Case2:18-cv-03893-RGK-AGR
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Case2:18-cv-03893-RGK-AGR
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Case2:18-cv-03893-RGK-AGR
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Case 2:18-cv-03893-RGK-AGR Document
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-XOLH57URWWHUMWURWWHU#FDOOMHQVHQFRPGUHLJHO#FDOOMHQVHQFRP
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ODGRQQD#DVZWODZ\HUVFRPPDULFHOD#DVZWODZ\HUVFRPPD\UD#DVZWODZ\HUVFRP
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3DWULFN+3HOXVRSSHOXVR#ZRRGURZSHOXVRFRP
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2ULJLQDOILOHQDPH&?IDNHSDWK?'HIV06-1RWLFHDQG0RWLRQSGI
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V6WDWHPHQWRI8QFRQWURYHUWHG)DFWVDQG&RQFOXVLRQVRI/DZLQ6XSSRUWRI
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>67$03FDFG6WDPSB,' >'DWH @>)LOH1XPEHU @
>DIIHGHFGDHEGFFHEGDGGGIEDGEFFG
EGDHEFDHDFIFGFHIFIIHI@@
'RFXPHQWGHVFULSWLRQ([KLELW$(WR5HTXHVWIRU-XGLFLDO1RWLFHLQ6XSSRUWRI'HIHQGDQW
V0RWLRQIRU
6XPPDU\-XGJPHQW
2ULJLQDOILOHQDPH&?IDNHSDWK?'HIV06-5-1([KLELWV$(ILQDOSGI
(OHFWURQLFGRFXPHQW6WDPS
>67$03FDFG6WDPSB,' >'DWH @>)LOH1XPEHU @
>DHDFHFIHHGFIFGHD
IGGDHIIEFHIHGEEHG@@
'RFXPHQWGHVFULSWLRQ'HFODUDWLRQRI-XOLH57URWWHULQ6XSSRUWRI'HIHQGDQW
V0RWLRQIRU6XPPDU\
-XGJPHQW
2ULJLQDOILOHQDPH&?IDNHSDWK?'HIV06-'HFRI-7URWWHUSGI
(OHFWURQLFGRFXPHQW6WDPS
                                                       
                                                                                       Exhibit H
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     Case 2:18-cv-03893-RGK-AGR Document 73-10 Filed 04/29/19 Page 30 of 30 Page ID
                                                   #:866
 >67$03FDFG6WDPSB,' >'DWH @>)LOH1XPEHU @
 >FFGGHFFGEIIFEEHDFGDGE
 IFHGEEFDEFEFEGEFHIHIF@@
 'RFXPHQWGHVFULSWLRQ([KLELW$&WR'HFODUDWLRQRI-XOLH57URWWHULQ6XSSRUWRI'HIHQGDQW
V0RWLRQIRU
 6XPPDU\-XGJPHQW
 2ULJLQDOILOHQDPH&?IDNHSDWK?'HIV06-'HFRI-7URWWHU([KLELWV$&ILQDOSGI
 (OHFWURQLFGRFXPHQW6WDPS
 >67$03FDFG6WDPSB,' >'DWH @>)LOH1XPEHU @
 >EDDIFDFIGEFEGFDFIEFEEFED
 EFFIIFFGFIHGDDDHGDEHDFH@@
 'RFXPHQWGHVFULSWLRQ'HFODUDWLRQRI.ULVWLQ&RSHLQ6XSSRUWRI'HIHQGDQW
V0RWLRQIRU6XPPDU\-XGJPHQW
 2ULJLQDOILOHQDPH&?IDNHSDWK?'HIV06-'HFRI.&RSHSGI
 (OHFWURQLFGRFXPHQW6WDPS
 >67$03FDFG6WDPSB,' >'DWH @>)LOH1XPEHU @
 >DGGIIGDGIFDIIIDEEIHEEIIIHFEF
 IDEFIFEHIGDFFIHGFEFGEFFDHF@@
 'RFXPHQWGHVFULSWLRQ([KLELW$&WR'HFODUDWLRQRI.ULVWLQ&RSHLQ6XSSRUWRI'HIHQGDQW
V0RWLRQIRU
 6XPPDU\-XGJPHQW
 2ULJLQDOILOHQDPH&?IDNHSDWK?'HIV06-'HFRI.&RSH([KLELWV$&ILQDOSGI
 (OHFWURQLFGRFXPHQW6WDPS
 >67$03FDFG6WDPSB,' >'DWH @>)LOH1XPEHU @
 >FIHIFDIEGDDFHDDHHEIFEEGE
 IDGHHEGIDDEEHDDHDDE@@
 'RFXPHQWGHVFULSWLRQ3URSRVHG-XGJPHQWLQ)DYRURI'HIHQGDQW)ROORZLQJ&RXUW
V'HFLVLRQWR*UDQW
 'HIHQGDQW
V0RWLRQIRU6XPPDU\-XGJPHQW
 2ULJLQDOILOHQDPH&?IDNHSDWK?'HIV06-3URSRVHG-XGJPHQWSGI
 (OHFWURQLFGRFXPHQW6WDPS
 >67$03FDFG6WDPSB,' >'DWH @>)LOH1XPEHU @
 >EDGFGIIDEEFGIIDIFHFIIFFHHGD
 HEEHFEFHEGEHIHDDI@@
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